~~ . Case 3:20-cr-00217-CAB Document 30 Filed 10/16/20 PagelD.123 Page 1 of 2

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AO 245B (CASD Rev, 1/19) Judgment in a Criminal Case

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

 

 
    

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. (For Offenses Committed On or After November 1, 1987)
GENESIS VANESSA CAMARILLO SOTO (1) Case Number: 20CR0217-CAB oo
JULIE A. BLAIR 4 Slag MY y
- Defendant’s Attorney
USM Number 92357298 ot
q- | OCT TB dus
THE DEFENDANT: | | Jee Be TTS eth:
S THERN DISTRICT aLTFORNE
[Xl pleaded guilty to count(s) | ONE (1) OF THE ONE-COUNT INFORMATION  |3y0"' DEPUTY

L] was found guilty on count(s)

after a plea of not auilty. -
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

Count

 

Title & Section Nature of Offense . Number(s)

21 USC 952, 960 IMPORTATION OF METHAMPHETAMINE 1
The defendant is sentenced as provided in pages 2 through 2 __ of this judgment.

The sentence is imposed pursuant to the Sentencing Reform Act of 1984, :

LJ] The defendant has been found not guilty on count(s)

[4 Count(s) ; is dismissed on the motion of the United States.

 

‘Assessment : $100.00 - WAIVED
x

C1 JVTA Assessment*: $
*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

x] No fine [) Forfeiture pursuant to order filed , included herein.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any.
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’ § economic circumstances.

October 16, 2020)

Date of 7 : Sentence

HON. CathyAnn Bencivengo
UNITED STATES DISTRICT JUDGE

 
- ~. Case 3:20-cr-00217-CAB Document 30 Filed 10/16/20 PagelD.124 Page 2 of 2

AO 245B (CASD Rey, 1/19) Judgment in a Criminal Case

 

DEFENDANT: GENESIS VANESSA CAMARILLO SOTO (1) Judgment - Page 2 of 2
CASE NUMBER: 20CR0217-CAB

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
TIME SERVED (302 DAYS). |

Sentence imposed pursuant to Title 8 USC Section 1326(b). . |
The court makes the following recommendations to the Bureau of Prisons:

Oc

The defendant is remanded to the custody of the United States Marshal.

_ The defendant must surrender to the United States Marshal for this district:
Oat A.M. © on
Cas notified by the United States Marshal.

 

q "The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:

CL] onor before
C1 as notified by the United States Marshal.
O as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at . , with a certified copy of this judgment.
UNITED STATES MARSHAL
By DEPUTY UNITED STATES MARSHAL

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-20CR0217-CAB

 
